Case 2:05-cr-20055-SH|\/| Document 18 Filed 05/23/05 Page 1 of 2 Page|D 19

IN THE UNITED STATES DlSTRlCT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVlSION

UNITED STATES OF AMERICA

V. Cr. No. 05-20055-D

TAVARIS BOOTHE

   

ORDER SPECIFYING PERIOD OF

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DELAY EXCLUDABLE UNDER SPEEDY TRIAL ACT 3~5§ 151 "I“~,

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The defendant has this day notified the Court that he or she is attempting to obtain private
counsel to represent him or her in this action. Pursuant to the Speedy Tn`al Act, as set out in 18
U.S.C. § 3161(h)(8)(]3)(iv), a defendant may be granted a period of excludable delay while

attempting to obtain private counsel.

IT IS THEREFORE ORDERED that the time period of 05/18/05 through 06/01/05 be
excluded from the time limits imposed by the Speedy Trial Act for trial of this case, while the

defendant is attempting to obtain private counsel

ARRAIGNMENT IS RESE'I` 'I`O WEDNESDAY, June l, 2005 at 9:30 a.m. BEFORE

MAGISTRATE JUDGE ANDERSON.

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UNITED STATES MAGISTRATE JUDGE

DATE: Wm/., 20; 200_<’

This document entered on the docket sheet in compliance

with Rule 55 and/or sz(b) rach on 5 625 '@5"

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Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:05-CR-20055 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

